                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION


 UNITED STATES OF AMERICA,
                 Plaintiff,                                  No. CR05-3012-MWB
 vs.                                                        REPORT AND
                                                         RECOMMENDATION
 DEAN THOMAS FELT,
                                                     CONCERNING PLEA OF GUILTY
                 Defendant.
                                       ____________________


          On July 20, 2005, the above-named defendant, by consent, appeared before the
undersigned      United       States    Magistrate   Judge   pursuant      to     Federal     Rule
of Criminal Procedure 11, and entered a plea of guilty to Count One of the Indictment.
After cautioning and examining the defendant under oath concerning each of the subjects
mentioned in Rule 11, the court determined that the guilty plea was knowledgeable and
voluntary, and the offense charged was supported by an independent basis in fact
containing each of the essential elements of the offense.               The court therefore
RECOMMENDS that the plea of guilty be accepted and the defendant be adjudged
guilty.
          At the commencement of the Rule 11 proceeding, the defendant was placed under
oath and advised that if he answered any questions falsely, he could be prosecuted for
perjury or for making a false statement.             He also was advised that in any such
prosecution, the Government could use against him any statements he made under oath.
          The court then asked a number of questions to ensure the defendant’s mental
capacity to enter a plea. The defendant stated his full name, his age, and the extent of his




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schooling. The court inquired into the defendant’s history of mental illness and addiction
to narcotic drugs. The court further inquired into whether the defendant was under the
influence of any drug, medication, or alcoholic beverage at the time of the plea hearing.
From this inquiry, the court determined that the defendant was not suffering from any
mental disability that would impair his ability to make knowing, intelligent, and voluntary
pleas of guilty to the charges.
       The defendant acknowledged that he had received a copy of the Indictment, and
he had fully discussed these charges with his attorney.
       The court determined that the defendant was pleading guilty under a plea
agreement with the Government. After confirming that a copy of the written plea
agreement was in front of the defendant and his attorney, the court determined that the
defendant understood the terms of the plea agreement. The court then summarized the
plea agreement, and made certain the defendant understood its terms.
       The court explained to the defendant that because the plea agreement provided for
dismissal of charges if he pleaded guilty, a presentence report would be prepared and a
district judge would consider whether or not to accept the plea agreement. If the district
judge decided to reject the plea agreement, then the defendant would have an opportunity
to withdraw his pleas of guilty and change them to not guilty.
       The defendant was advised that any sentencing recommendation by the
Government, or any agreement not to oppose a particular sentence, would not be binding
on the court, and the defendant would have no right to withdraw his plea if such a
recommendation or request were not accepted by the court. The defendant was advised
also that after his plea was accepted, he would have no right to withdraw the plea at a
later date, even if the sentence imposed was different from what the defendant or his
counsel anticipated.

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          The court then summarized the charge against the defendant, and listed the
elements of the crime. The court determined that the defendant understood each and
every element of the crime, ascertained that his counsel had explained each and every
element of the crime fully to him, and the defendant’s counsel confirmed that the
defendant understood each and every element of the crime charged.
          The court then elicited a full and complete factual basis for all elements of the
crimes charged in each Count of the Indictment to which the defendant was pleading
guilty.
          The court advised the defendant of the consequences of his plea, including the
maximum fine and the maximum term of imprisonment, and the possibility that restitution
could be ordered. Because this charge involves fraud or other intentionally deceptive
practices, the defendant was advised that the court also could order him to provide notice
of the conviction to victims of the offense.
          With respect to Count One, the defendant was advised that the maximum fine is
$250,000; the maximum term of imprisonment is 20 years; and the maximum period of
supervised release is three years.
          The defendant also was advised that the court is obligated to impose a special
assessment of $100.00, which the defendant must pay. The defendant also was advised
of the collateral consequences of a plea of guilty. The defendant acknowledged that he
understood all of the above consequences.
          The court then explained supervised release to the defendant, and advised him that
a term of supervised release would be imposed in addition to the sentence of
imprisonment. The defendant was advised that among other conditions of supervised
release, he could not commit another federal, State, or local crime while on supervised
release, and he could not possess illegal controlled substances while on supervised

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release. The defendant was advised that there are other standard conditions of supervised
release, and the court could impose additional special conditions. The defendant was
advised that if he were found to have violated a condition of supervised release, then his
term of supervised release could be revoked and he could be required to serve in prison
all or part of the term of supervised release without credit for time previously served on
supervised release.
       The court also explained to the defendant that the district judge would determine
the appropriate sentence for him at the sentencing hearing. The defendant confirmed that
he understood the court would not determine the appropriate sentence until after the
preparation of a presentence report, which the parties would have the opportunity to
challenge. The defendant acknowledged that he understood the sentence imposed might
be different from what his attorney had estimated. The defendant also was advised that
both he and the Government would have the right to appeal the sentence. The defendant
was advised that parole has been abolished.
       The defendant indicated he had conferred fully with his counsel and he was fully
satisfied with his counsel. The defendant’s attorney indicated the attorney had had full
access to the Government’s discovery materials, and they supported a factual basis for
the plea.
       The defendant then was advised fully of his right to plead not guilty, or having
already entered a not guilty plea to persist in such plea, and to have a jury trial, including:
       1.     The right to assistance of counsel at every stage of the pretrial and trial
              proceedings;
       2.     The right to a speedy, public trial;
       3.     The right to have his case tried by a jury selected from a cross-section of
              the community;
       4.     That he would be presumed innocent at each stage of the proceedings, and

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              would be found not guilty unless the Government could prove each and
              every element of the offense beyond a reasonable doubt;
       5.     That the Government could call witnesses into court, but the defendant’s
              attorney would have the right to confront and cross-examine these
              witnesses;
       6.     That the defendant would have the right to see and hear all witnesses
              presented at trial;
       7.     That the defendant would have the right to subpoena defense witnesses to
              testify at the trial, and if he could not afford to pay the mileage and other
              fees to require the attendance of these witnesses, then the Government
              would be required to pay those costs;
       8.     That the defendant would have the privilege against self incrimination; i.e.,
              he could choose to testify at trial, but he need not do so, and if he chose not
              to testify, then the court would, if the defendant requested, instruct the jury
              that the defendant had a constitutional right not to testify;
       9.     That any verdict by the jury would have to be unanimous;
       10.    That he would have the right to appeal, and if he could not afford an
              attorney for the appeal, then the Government would pay the costs of an
              attorney to prepare the appeal.
       The defendant also was advised of the rights he would waive by entering a plea of
guilty. The defendant was told there would be no trial, he would waive all the trial rights
just described, and he would be adjudged guilty without any further proceedings except
for sentencing.
       The defendant then confirmed that his decision to plead guilty was voluntary and
was not the result of any promises other than plea agreement promises; no one had
promised him what the sentence would be; and his decision to plead guilty was not the
result of any threats, force, or anyone pressuring him to plead guilty.
       The defendant then confirmed that he still wished to plead guilty, and he pleaded
guilty to Count One of the Indictment

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      The court finds the following with respect to the defendant’s guilty plea:
      1.     The guilty plea is voluntary, knowing, not the result of force, threats or
             promises, except plea agreement promises, and the defendant is fully
             competent.
      2.     The defendant is aware of the maximum punishment.
      3.     The defendant knows his jury rights.
      4.     The defendant has voluntarily waived his jury rights.
      5.     There is a factual basis for the plea.
      6.     The defendant is, in fact, guilty of the crime to which he is pleading guilty.
      The defendant has executed a Consent to the Court’s Inspection of Presentence
Report Prior to Guilty Plea. The defendant was advised that a written presentence
investigation report would be prepared to assist the court in sentencing. The defendant
was asked to provide the information requested by the U.S. Probation Office to prepare
the presentence investigation report. The defendant was told that he and his counsel
would have an opportunity to read the presentence report before the sentencing hearing
and to object to the contents of the report, and he and his counsel would be afforded the
opportunity to present evidence and be heard at the sentencing hearing.
      The defendant was advised that the failure to file written objections to this Report
and Recommendation within 10 days of the date of its service would bar him from
attacking this court’s Report and Recommendation, which recommends that the assigned
United States District Judge accept the defendant’s plea of guilty. A copy of this Report
and Recommendation was served on the defendant and his attorney at the conclusion of
the proceeding.
      DONE AND ENTERED at Sioux City, Iowa, this 20th day of July, 2005.




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                            PAUL A. ZOSS
                            MAGISTRATE JUDGE
                            UNITED STATES DISTRICT COURT




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